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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

 Janet Duke, on behalf of herself and all others
 similarly situated,

                     Plaintiffs,

         v.                                                       Case No. 1:21-cv-06072-JMA-AYS

                                                                        [PROPOSED] ORDER
 Luxottica U.S. Holdings Corp., Oakley, Inc.,
 Luxottica Group ERISA Plans Compliance &
 Investment Committee, and Luxottica Group Pension
 Plan,

                     Defendants.


         Before the Court is Defendants Luxottica U.S. Holdings Corp., Oakley, Inc., Luxottica

  Group ERISA Plans Compliance & Investment Committee, and Luxottica Group Pension Plan’s

  Motion to Compel Arbitration, or in the Alternative, Dismiss Plaintiff’s Complaint Pursuant to

  Federal Rule of Civil Procedure (“Rule”) 12(b)(1) and 12(b)(6). Specifically, Defendants seek to

  compel Plaintiff’s claims to individual arbitration and to stay this matter pending the outcome of

  that arbitration. In the alternative, Defendants seek dismissal of Plaintiff’s claims under Rule

  12(b)(1) for lack of Article III constitutional standing and Rule 12(b)(6) for failure to state a claim.

         [The Court grants Defendants’ motion to compel Plaintiff’s claims to individual arbitration.

  This matter is stayed pending the outcome of that arbitration.]

         [The Court grants Defendants’ motion to dismiss Plaintiff’s claims under Rule 12(b)(1)

  and/or Rule 12(b)(6). Plaintiff’s claims are dismissed in their entirety with prejudice.]

 Dated: _____________________                     SO ORDERED:


                                                  __________________________
                                                  Joan M. Azrack
                                                  United States District Judge
